                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )       Crim. No. 05-10003-NMG
               v.                                    )
                                                     )
ARTHUR GIANELLI,                                     )
                                                     )
                       Defendant.                    )

                    GOVERNMENT’S SENTENCING RECOMMENDATION

       The Government has reviewed the revised Presentence Report recently prepared by the

U.S. Department of Probation. While the Government does not dispute the Probation Officer’s

guidelines calculation that the defendant’s sentencing range is 241 to 271 months based upon the

offenses of conviction, the Government does dispute the Probation Officer’s opinion that the

information provided by the Government regarding the defendant’s involvement in three

additional arsons related to the victims in this case should not be considered as relevant conduct

for purposes of sentencing the defendant. See U.S.S.G.§ 1B1.3.

       For the reasons set forth below, the Government submits that a sentence within the

guideline range of 241 to 271 months is inadequate to address the defendant's conduct, and that

the Court should sentence the defendant to 360 months' incarceration, the statutory maximum for

the charged arson and use of fire to commit extortion, to address the defendant's participation in

these three additional arsons. In support of its position, the Government has attached the

affirmation of Special Agent Mattheu Kelsch of the Bureau of Alcohol, Tobacco, Firearms, and

Explosives which sets forth the relevant facts.

I.     Argument

       The evidence at trial overwhelmingly proved that the defendant was involved in a vicious
dispute with the victims in this case, Karen and Mark Colangelo, Edward Fitzsimons, and

Richard Dalton. So too, the evidence of defendant's participation in a scheme to financially harm

the Colangelos and Fitzsimons by burning down their North Reading business was also

overwhelming.

       It is no coincidence that on November 26, 2003 - within two weeks of the first fire at the

North Reading Big Dog - there was a second fire that caused extensive damage. Philip Puopolo's

presence in the vicinity of the North Reading Big Dog five hours after the second fire combined

with the defendant's recorded November 21 conversation indicating that he had spoken with

someone else about setting the fire are compelling facts linking the defendant to that second fire.

(See Kelsch affirmation at ¶¶ 5 and 6.) Evidence at trial clearly indicated that the defendant

utilized Puopolo to commit crimes of violence. Finally, the defendant's admission to inmate

Gerald Kruger that the defendant had utilized Puopolo's associate Anthony Raymond to set some

fires should leave no doubt about the defendant's responsibility for the second fire at the North

Reading Big Dog. (See Kelsch affirmation at ¶ 16.)

       Likewise, the December 3 and December 6, 2003 fires at the Sports Grille in Boston -

another business owned by the Colangelos - were also orchestrated by the defendant and were

committed as part of the same conspiracy to extort the Colangelos for which the defendant stands

convicted. Again, the defendant's instructions to co-defendant Salvatore Ramasci to check the

Sports Grille hours after the fire is compelling evidence of the defendant's involvement. (See

Kelsch affirmation at ¶ 10.) Moreover, Puopolo's December 5 intercepted request to Ramasci to

talk to the defendant about Puopolo's "fee" and Puopolo's subsequent conversation with the

defendant in which he declined payment are consistent with Puopolo's involvement in the first


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failed attempt to set fire to the Sports Grille. (See Kelsch affirmation at ¶¶ 11 and 12.)

       Finally, the following factors compel the conclusion that the uncharged fires were all set

pursuant to the extortion conspiracy for which the defendant stands convicted:

       (1)     the proximity in time of all the fires;

       (2)     the common identity of the victims;

       (3)     the similarity of the modus operandi of the three uncharged arsons - breaking the

               front glass and throwing containers of flammable liquid into the premises; and

       (4)     the defendant's admissions to fellow inmate Kruger.



II.    Legal Standard

       With regard to sentence adjustments, U.S.S.G. § 1B1.3 provides that the Court should

consider all acts and omissions committed, commanded, or willfully caused by the defendant as

"relevant conduct." U.S.S.G. § 1B1.3(a)(1)(A). In the case of jointly undertaken criminal

activity, the Courts should consider all reasonably foreseeable acts and omissions of others in

furtherance of the criminal activity as relevant conduct. U.S.S.G. § 1B1.3(a)(1)(B).

       The test for determining whether acts committed in a joint criminal enterprise constitute

"relevant conduct" is subject to a three part test. In order to satisfy § 1B1.3(a)(1)(B), the conduct

must be (1) within the scope of the joint criminal activity explicitly or implicitly agreed to by the

defendants; (2) in furtherance of the jointly undertaken criminal activity; and (3) reasonably

foreseeable in connection with the criminal activity. U.S. v. Carozza, 4 F.3d 70, 76 (1st Cir.

1993). In practice, however, the trial courts have combined the second and third prong of this

test. U.S. v. Patriarca, 912 F.Supp. 596, 608 (D.Mass. 1995) ("to determine which acts were in


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furtherance of jointly undertaken criminal activity, the court must decide if they 'likely would

have been foreseeable by a reasonable person'"). See also, U.S. v. Marino, 277 F.3d 11, 37 (1st

Cir. 2002).

       In the case at bar, the evidence at trial was clear that the defendants agreed to

economically harm the victims to achieve the goal of the conspiracy, i.e., to gain control of

Canine Entertainment Corp. The chosen method was to disrupt the victims' cash flow by setting

fire to the victims' active businesses. Certainly, all the defendants participated in the conspiracy

to set fire to the North Reading Big Dog. The government submits that the two fires at the

Boston Sports Grille were reasonably foreseeable acts committed in furtherance of the

conspiracy. Courts determine whether an act is reasonably foreseeable objectively. U.S. v.

Patriarca, 912 F.Supp. at 608. An act is reasonably foreseeable if it is one that a "reasonable

person who knew everything the defendant knew at the time [he entered the conspiracy] would

have been able to know in advance with a fair degree of certainty." U.S. v. LaCroix, 28 F.3d 223,

227 (1st Cir. 1994).

       Furthermore in a racketeering case, any racketeering acts that the government could have

charged as a predicate RICO offense constitute "relevant conduct." U.S. v Carozza, 4 F.3d at 77.

Arson is a predicate RICO offense. Similarly, whether the incidents were in the same course of

conduct is material to whether they constitute "relevant conduct." Under either U.S.S.G. §

1B1.3(a)(1)(A) or U.S.S.G. § 1B1.3(a)(1)(B), the conduct must be part of the same course of

conduct or common scheme as the offense of conviction in order for a sentencing court to

consider conduct relevant. U.S. v. Maxwell, 351 F.3d 35, 42 (1st Cir. 2003). Clearly, the second

Big Dog arson was committed pursuant to the same course of conduct as the offense of


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conviction, because it manifested the achievement of one of the goals of the conspiracy. So too,

the arsons at the Boston Sports Grille were committed within weeks of the Big Dog fires and

were committed pursuant to the same conspiratorial plan.

       The fact that the uncharged conduct was part of the conspiracy of conviction does not

mean that it cannot be considered as relevant conduct. Acts or omissions are considered relevant

conduct as long as they are "severable distinct offense[s]." U.S. v. Collazo-Aponte, 216 F.3d

163, 203 (1st Cir. 2000) (quoting U.S. v. Blumberg, 961 F.2d 787, 792 (8th Cir. 1992). Clearly

each arson or attempted arson could have been charged as a separate offense.

       The Government submits that the facts set forth above prove the defendant's involvement

in the additional arsons by a preponderance of the evidence. U.S. v. Hoey, 508 F.3d 687, 690 (1st

Cir. 2007) (preponderance of the evidence is the standard to be applied for relevant conduct).1

See also, United States v. Rodriguez-Cardona, 924 F.2d 1148, 1155 (1st Cir. 1991) (“Factual

findings at sentencing must satisfy only a preponderance of the evidence standard.”) citing

United States v. Blanco, 888 F.2d 907, 909 (1st Cir. 1989). Therefore, the Court should consider

this evidence as relevant conduct in sentencing the defendant.

       Separate and aside from considering the uncharged arsons as relevant conduct, the Court

has broad latitude to "consider, without limitation, any information concerning the background,

character and conduct of the defendant" in determining the appropriate sentence to be imposed.


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               Some courts have imposed a heightened burden of proof in cases where the
increase in defendants' sentence would be significant. See, e.g. U.S. v. Kikumura, 918 F.2d 1084
(3d Cir. 1990) (requiring "clear and convincing evidence"). Nonetheless, this approach and the
underlying Supreme Court dicta from which courts derive this interpretation of § 1B1.3 has been
largely repudiated. U.S. v. Grier, 449 F.3d 558, 567 (3d. Cir. 2006) (citing U.S. v. Booker, 543
U.S. 220, 259 (2005) (holding that findings of fact relevant to federal sentencing guidelines need
not be submitted to jury and need only to be proven by a preponderance of the evidence).

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U.S.S.G. §1B1.4. Such information may provide a basis for an upward departure. See

Commentary U.S.S.G. §1B1.4.

       Finally, 18 USC § 3553(a)(2) sets forth the factors to be considered in sentencing the

defendant. These factors militate in favor of imposing a severe sentence on defendant. The

defendant not only operated a broad based criminal enterprise that exploited hundreds of

gamblers, but also manipulated the financial system to launder the proceeds of his criminal

activity. He used threats of force and violence to deal with those who opposed him and

associated himself with members of organized crime to enhance the success of his criminal

enterprise.

       The defendant has demonstrated an utter disrespect for the law for most of his adult

lifetime. The Court's sentence should reflect the seriousness of the defendant's conduct, promote

respect for the law, and provide fitting punishment.



III.   Conclusion

       For the reasons set forth above, the Government respectfully recommends that the Court

sentence the defendant to 360 months' incarceration.

                                                       Respectfully submitted,

                                                       MICHAEL K. LOUCKS
                                                       Acting United States Attorney

                                             By:       /s/ Fred M. Wyshak, Jr.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                                      /s/ Fred M. Wyshak, Jr.
                                                      Fred M. Wyshak, Jr.

Date: September 23, 2009




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